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iN THE uNlTED sTATEs DisTRicT couRT FoR THE faa
WESTERN DlSTRlCT OF TENNESSEE, WESTERN Dl\/lSIWUS 30 PH 3_ 32

 

HELEN |V|. STARNES

 

Plaintiff,
v. NO. 01-2804 BA

SEARS, ROEBUCK AND CO.,

JONES LANG LASALLE AlVlER|C/-\S, lNC.
d/b/a JONES LANG LASALLE, lNC.l and
OTHER UNKNOVVN PARTIES HAVlNG AN
OVVNERSHIP |NTEREST and/Or
RESPONS|B|L|TY FOR SECUR|TY AT
SOUTHLAND MALL,

Defendants.

 

ORDER GRANT|NG MOTION FOR CONTINUANCE

 

This cause came on to be heard upon |V|otion of Valor Security Services, lnc., it
appearing to the Court that there is no opposition to the l\/|otion for Continuance and that
good cause has been shoWn, the Court is of the opinion that the l\/lotion is We|l taken and
should be granted

lT |S THEREFORE ORDERED, JUDGED AND DECREED that the i\/lotion is
hereby granted and that the trial of this matter currently scheduled for September 12, 2005,

be continued

<A
iT is so oRDERED, this 'S O day of , 2005.

/

J. o rel Breen \
Unite States District Judge
This document entered on the docket sheet in compliance _' "
with sure sa and/or rcra nice on 3 ‘3l ' 05/ w

 

 

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This notice confirms a copy ot` the document docketed as number 142 in
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EsSEE

 

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Honorable J. Breen
US DISTRICT COURT

